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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                           ALEXANDRIA DIVISION

   DANIEL REEDER,                        CIVIL DOCKET NO. 1:19-CV-00807
   Plaintiff

   VERSUS                                JUDGE DAVID C. JOSEPH

   SGT. “HOSS” DUCOTE, ET AL             MAGISTRATE JUDGE PEREZ-MONTES
   Defendants

                                   JUDGMENT

        For the reasons stated in the REPORT AND RECOMMENDATION of the Magistrate

  Judge previously filed herein [ECF No. 124], noting the absence of objections thereto,

  and concurring with the Magistrate Judge’s findings under the applicable law;

        IT IS HEREBY ORDERED that Defendant’s Motion for Partial Summary

  Judgment [ECF No. 69] is GRANTED.

        IT IS FURTHER ORDERED that, to the extent asserted, the following claims

  are DISMISSED WITH PREJUDICE: (1) any claim against Ducote in his official

  capacity; (2) any independent claim under the PREA; and (3) any independent claim

  under negligence per se.

        IT IS FURTHER RECOMMENDED that Defendant’s request for attorney’s

  fees [ECF No. 69] under 42 U.S.C. § 1988 is DENIED.

        THUS, DONE AND SIGNED in Chambers on this 12th day of May 2021.



                                         _____________________________________
                                         DAVID C. JOSEPH
                                         UNITED STATES DISTRICT JUDGE
